
698 S.E.2d 74 (2010)
In the Matter of A.M.
appealed by juvenile.
No. 128P10.
Supreme Court of North Carolina.
June 16, 2010.
Robert W. Ewing, Jr., Clemmons, for Amanda Marsh.
Carol Holcombe, for Chatham Co. DSS.
Pamela Newell, Raleigh, for Guardian Ad Litem.

ORDER
Upon consideration of the petition filed on the 23rd of March 2010 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
